
100 N.Y.2d 636 (2003)
BLUE CROSS AND BLUE SHIELD OF NEW JERSEY, INC., et al., Plaintiffs-Respondents,
v.
PHILIP MORRIS USA INCORPORATED et al., Defendants-Appellants, et al., Defendants.
Court of Appeals of the State of New York.
Decided October 30, 2003.
Concur: Chief Judge KAYE and Judges SMITH, CIPARICK, ROSENBLATT, GRAFFEO and READ.
Certification of questions by the United States Court of Appeals for the Second Circuit, pursuant to section 500.17 of the Rules of the Court of Appeals (22 NYCRR 500.17), accepted and the issues presented are to be considered after briefing and argument.
